       Case 13-07031 Document 109-1 Filed in TXSB on 08/26/15 Page 1 of 1




                        UNITED STATES BANKRUPTCY COURT
                          SOUTHERN DISTRICT OF TEXAS
                                MCALLEN DIVISION

IN RE:                                         §
                                               §       BANKRUPTCY CASE NO. 10-70594
JOSE TREVINO, SR. and                          §
TERESA TREVINO                                 §       CHAPTER 13
                                               §
DEBTORS                                        §
                                               §
JOSE TREVINO AND                               §
TERESA TREVINO,                                §
                                               §
PLAINTIFFS,                                    §
                                               §
v.                                             §       ADVERSARY NO. 13-07031
                                               §
1) HSBC MORTGAGE SERVICES,                     §
   INC.,                                       §
                                               §
2) U.S. BANK TRUST, N.A. as Trustee            §
   for LSF8 MASTER                             §
   PARTICIPATION TRUST, and                    §
                                               §
3) CALIBER HOME LOANS, INC.,                   §
                                               §
DEFENDANTS.                                    §

                                           ORDER

        The Court has considered the unopposed motion of Jose and Teresa Trevino, Plaintiffs, to

set a status and scheduling conference in this case. The Court finds that the Motion has merit.

Therefore, it is

        ORDERED that the Court will hold a status and scheduling conference in this Adversary

Proceeding on _______________, _____, 2014 at ___ _.m., in _____________, Texas.


Date: ______________________________            ____________________________________
                                                UNITED STATES BANKRUPTCY JUDGE
